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8                             UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
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11    CALIFORNIA RIFLE & PISTOL          Case No. 2:23-cv-10169-SPG-ADS
      ASSOCIATION, INCORPORATED, et al.,
12                                       ORDER GRANTING IN PART,
                         Plaintiffs,     DENYING IN PART, PLAINTIFFS’
13                                       MOTION FOR PRELIMINARY
               v.
14                                       INJUNCTION [ECF NO. 20]
15    LOS ANGELES COUNTY SHERIFF’S
16    DEPARTMENT, et al.,
17                             Defendants.
18
19          Before the Court is Plaintiffs’ California Rifle & Pistol Association, Incorporated;
20    the Second Amendment Foundation; Gun Owners of America, Inc.; Gun Owners
21    Foundation; Gun Owners of California, Inc. (the “Association Plaintiffs”); and individuals
22    Erick Velasquez, Charles Messel, Brian Weimer, Clarence Rigali, Keith Reeves, Cynthia
23    Gabaldon, and Stephen Hoover’s (the “Individual Plaintiffs,” collectively, “Plaintiffs”)
24    motion for a preliminary injunction (the “Motion”). (ECF No. 20). Defendants the Los
25    Angeles (“LA”) County Sheriff’s Department (“LASD”) and Sherriff Robert Luna in his
26    official capacity (collectively the “LA Defendants”); the La Verne Police Department
27    (“LVPD”) and La Verne Chief of Police Colleen Flores in her official capacity (collectively
28    the “LV Defendants”); and Robert Bonta in his official capacity as Attorney General of



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1     California (the “State”) oppose. (ECF Nos. 23–25, 27). Having considered the parties’
2     submissions, the relevant law, the record in this case, and the arguments during the hearing
3     on the Motion, the Court GRANTS, in part, and DENIES, in part, Plaintiffs’ Motion.
4     I.    BACKGROUND
5           In California, it is a crime for individuals to carry on their person, in public, or in
6     their vehicle a concealed firearm if they do not possess a concealed carry weapons
7     (“CCW”) license. See Cal. Penal Code § 25400. Before 2022, the California legislature
8     enacted a CCW licensing regime that set various requirements for an individual to apply at
9     the county and municipal levels for a CCW license,1 including having to make a showing
10    of “good cause.”
11          In June 2022, however, the United States Supreme Court issued the landmark
12    decision of New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1 (2022), which
13    held that a New York CCW licensing statute that required applicants for a CCW license to
14    show a “proper cause” for obtaining a CCW license violated the Second Amendment
15    because it prevented law-abiding citizens with ordinary self-defense needs from exercising
16    their right to keep and bear arms in public for self-defense. Id. at 31-32.
17          Given California’s then existing “good cause” licensing regime, in approximately
18    2023, the California legislature, in response to the Bruen decision, enacted California
19    Senate Bill 2 (“SB 2”), with the goals of establishing a more uniform and effective
20    licensing process throughout California and addressing the implications from the Bruen
21    decision. SB 2 replaced California’s “good cause” requirement with a requirement that the
22    licensing authority, before issuing a license or renewing a license, determine that the
23    applicant is not a disqualified individual based on an assessment of defined criteria. In
24    particular, California law requires that the licensing authority “shall issue or renew a
25    license” to an applicant who (1) is not a “disqualified person to receive such a license,” as
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       The Complaint refers to CCW licenses as CCW permits. Because the California statutes
28    use the term “license,” the Court, in keeping with the language of the CCW statutes, also
      uses the term “license.”


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1     determined in California Penal Code Section 26202; (2) is at least 21 years of age upon
2     “clear evidence” of the person’s identity; (3) is a “resident of the county or a city within
3     the county,” or the “applicant’s principal place of employment or business is in the county
4     or a city within the county and the applicant spends a substantial period of time in that
5     place of employment or business;” (4) completes a course of training; and (5) is the
6     “recorded owner, with the Department of Justice, of the pistol, revolver, or other firearm”
7     for which the license will be issued. (ECF No. 1 (“Compl.”) ¶ 65 (citing Cal. Penal Code
8     §§ 26150(a), 26155(a)). The licensing authority determines whether an applicant is a
9     “disqualified person” by following a statutory checklist, which includes interviewing the
10    applicant, interviewing three character references, obtaining fingerprints, and conducting
11    a criminal history check. Cal. Penal Code § 26202(b). Within 120 days of receiving a
12    completed application, the “licensing authority shall give written notice . . . indicating if
13    the license . . . is approved or denied.” (Compl. ¶ 66 (citing Cal. Penal Code. § 26205)).
14    The Department of Justice determines the CCW license application fee, see (Compl. ¶ 66);
15    however, the local licensing authority “shall charge an additional fee in the amount equal
16    to the reasonable costs for processing the application . . . issuing the license, and enforcing
17    the license.” Cal. Penal Code § 26190(b)(1); see (Compl. ¶¶ 69, 74). The new CCW
18    licensing requirements became effective in January of 2024.
19          On December 4, 2023, Plaintiffs commenced this action, claiming that their Second
20    Amendment and other constitutional rights have been violated because of the delay, high
21    fees, and other licensing requirements associated with the LA and LV Defendants’
22    processing of CCW applications pursuant to CCW licensing statutes. See (Compl.)
23    Plaintiffs also challenge the California CCW statutes’ prohibition of issuing a license to an
24    individual whose residence is outside the state of California, regardless of whether the
25    individual has obtained a CCW license in another state, as being in violation of the Second
26    Amendment, the Fourteenth Amendment’s Equal Protection and Due Process Clauses, and
27    Article IV’s Privilege and Immunities Clause. See (id.).
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1           The Complaint alleges that Association Plaintiffs are non-profit membership
2     organizations representing “members and supporters who reside in Los Angeles County or
3     Laverne,” as well as “members and supporters in other states . . . .” (Id., ¶¶ 21-22, 46).
4     Plaintiff the Second Amendment Foundation “has over 720,000 members and supporters
5     nationwide” and Plaintiff Gun Owners of America, Inc. “has more than 2 million members
6     and supporters across the country.” (Id., ¶¶ 46-47).2
7           The Complaint alleges the Individual Plaintiffs are “ordinary, law-abiding,” adult
8     residents of LA County and the City of La Verne that have either applied for a CCW license
9     but have not received a license or have been dissuaded or prevented from applying.
10    (Compl. ¶ 20). Two of the Individual Plaintiffs, Brian Weimer, who applied for a CCW
11    license in January of 2023, and Charles Messel, who applied for a CCW license on July 1,
12    2022, reside in LA County and, along with the Association Plaintiffs,3 have challenged
13    LASD’s application of California’s CCW statutes, asserting unreasonable delays
14    exceeding 18 months in the issuance of licenses. (ECF No. 20-16 (“Weimer Decl.”) ¶¶ 2,
15    5; ECF No. 20-17 (“Messel Decl.”) ¶¶ 2, 5). Based on the parties’ representations, as of
16    the date of the hearing on the Motion, neither of the two Individual Plaintiffs has received
17    a CCW license. The Complaint alleges that the delay in issuing licenses to these two
18    Individual Plaintiffs, as well as numerous other individuals on behalf of whom the
19    Association Plaintiffs assert a challenge, violates the Second Amendment. E.g., (Compl.
20    ¶ 125).
21          Plaintiffs also allege LASD has applied discretionary criteria to deny the CCW
22    applications of other LA County residents. Specifically, Individual Plaintiff Velasquez’s
23    application for a CCW license was denied on August 23, 2023, due to an alleged previous
24    theft of Plaintiff Velasquez’s firearms, (ECF No. 20-21 (“Velasquez Decl.”) ¶¶ 2, 8), and
25    the CCW application of Sherwin David Partowashraf’s, who is a member of a Plaintiff
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        The Complaint does not provide membership information for the two other Association
28    Plaintiffs.
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        The Association Plaintiffs’ claims as to delay are addressed in Section III.A.1.a.i., below.


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1     Association, was denied by the LASD because Partowashraf was subject to a previous
2     temporary restraining order. (ECF No. 20-25 (“Partowashraf Decl.”) ¶¶ 1, 2–4). The
3     Complaint alleges that LASD’s denial of these applications was discretionary, instead of
4     based on objective standards, which Plaintiffs argue violates the Second Amendment. E.g.,
5     (Compl. ¶ 125).
6           Several residents of the City of La Verne challenge the processes required to apply
7     for a CCW license from the LVPD as being too costly or inappropriately based on
8     discretionary criteria. Specifically, Individual Plaintiff Clarence Rigali represents he is a
9     disabled resident of the City of La Verne4 who lives in a senior citizen mobile home park
10    on a fixed income and is unable to afford the fee required for a CCW license in La Verne.
11    (ECF No. 20-18 ¶¶ 2, 4, 6). Individual Plaintiff Cynthia Gabaldon, a self-employed
12    resident of the City of La Verne and a member of the CPRA, represents she has owned and
13    trained with firearms for most of her life but, due to La Verne’s fee, is dissuaded from
14    applying for a CCW license. (ECF No. 20-19 (“Galbadon Decl. ¶¶ 2, 4–5). Jim Carlson,
15    who is a resident of Los Angeles County and a member of the CPRA, represents he applied
16    for and received a CCW license from the LVPD but, after taking the required psychological
17    exam, asserts he does not believe the exam is a reasonable prerequisite to carrying a
18    firearm. (ECF No. 20-23 (“Carlson Decl.” ¶¶ 2, 10). Individual Plaintiff Keith Reeves is
19    a resident of the City of La Verne and a member of each of the Association Plaintiffs, with
20    CCW licenses from Arizona and Utah. (ECF No. 20-24 (“Reeves Decl.”) ¶¶ 2–4). Plaintiff
21    Reeves represents that in 2016, his CCW application for a license from LVPD was denied
22    and, though he would like to reapply for a license, he cannot afford the fee. (Id. ¶ 5). The
23    Complaint alleges that the LVPD licensing process violates the Second Amendment due
24    to its “exorbitant fee” and use of “discretionary criteria” to screen applicants through its
25    psychological exam. E.g., (Compl. ¶ 131).
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28     Plaintiffs that reside in the City of La Verne are also Los Angeles County residents. See,
      e.g. (Rigali Decl. ¶ 2)


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1           Finally, other individuals are non-residents of California who wish to, or have
2     attempted to, acquire CCW licenses to lawfully carry a firearm in California but have been
3     deemed ineligible for a CCW license or their application has been denied. For example,
4     David Broady, a Nevada resident and member of the CPRA, frequently travels to California
5     because he owns property in the State and visits family but is unable to obtain a CCW
6     license because he is no longer a California resident. (ECF No. 20-20 (“Broady Decl.”) ¶¶
7     1, 3–5). Individual Plaintiff Stephen Hoover is a Florida resident who spent a “significant
8     amount of time” in California during summer 2023 and “plan[s] to return for work and/or
9     leisure purposes.” (ECF No. 20-26 (“Hoover Decl.”) ¶¶ 2–3). Plaintiff Hoover holds a
10    CCW license from Florida, applied for a CCW license in California, but was deemed
11    ineligible because he is not a California resident. (Id. ¶ 4). The Complaint alleges that
12    California’s residency requirements violate the Second Amendment, the Fourteenth
13    Amendment’s Equal Protection and Due Process Clauses, and Article IV’s Privileges and
14    Immunities Clause.
15          Plaintiffs’ present Motion requests the Court preliminarily enjoin what they
16    characterize as certain “unconstitutional practices under California’s CCW licensing
17    regime that delay or deny Plaintiffs’ constitutional right to carry.”5 (ECF 20-1 (“Mot.”) at
18    32). Defendants oppose the Motion. See (ECF No. 23 (“LVPD Opp.”); ECF No. 25 (“State
19    Opp.”); ECF No. 27 (“LASD Opp.”)). Plaintiff submitted a reply to each Opposition brief.
20    See (ECF No. 32 (“Reply”)).
21    II.   LEGAL STANDARD
22          “A preliminary injunction is an extraordinary remedy never awarded as a matter of
23    right.” Winter v. Natural Res. Def. Council, 555 U.S. 7, 24 (2008). A movant seeking a
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25      Plaintiffs’ Complaint and Motion generally do not differentiate between conduct they
26    allege occurred before the changes to California’s CCW licensing regime brought about by
      SB 2 or after the effective date of SB2. The parties’ briefing, however, appears to treat
27    Plaintiffs’ challenges as being to the application of the current version of the statutes. The
28    Court, thus, also analyzes the issues raised in the Motion based on the current CCW
      statutory regime.


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1     preliminary injunction must establish that (1) he is likely to succeed on the merits of his
2     claim; (2) he is likely to suffer irreparable harm in the absence of preliminary relief; (2) the
3     balance of equities tips in his favor; and (4) a preliminary injunction is in the public interest.
4     Id. at 20. The first Winter factor, likelihood of success on the merits, is a “threshold inquiry
5     and is the most important factor in any motion for preliminary injunction.” Baird v. Bonta,
6     81 F.4th 1036, 1040 (9th Cir. 2023); see also Disney Enters. v. VidAngel, Inc., 869 F.3d
7     848, 856 (9th Cir. 2017) (“Likelihood of success on the merits ‘is the most important’
8     Winter factor; if a movant fails to meet this ‘threshold inquiry,’ the court need not consider
9     the other factors . . . .’” (quoting All. for the Wild Rockies, 632 F.3d at 113–35)). The
10    importance of this factor “holds especially true for cases where a plaintiff seeks a
11    preliminary injunction because of an alleged constitutional violation.” Baird, 81 F.4th at
12    1040 (reversing a district court’s denial of a preliminary injunction implicating the Second
13    Amendment). When the government is the non-movant, the last two factors (equities and
14    public interest) merge. Nken v. Holder, 556 U.S. 418, 435 (2009).
15          When, as here, the movant is not seeking to maintain the status quo pending a
16    determination of the action on the merits, see Chalk v. U.S. Dist. Court, 840 F.2d 701, 704
17    (9th Cir. 1988), but instead is seeking an order requiring the nonmoving party to take
18    action, the movant is seeking a mandatory injunction. Garcia v. Google, Inc., 786 F.3d
19    733, 740 (9th Cir. 2015). Such injunctions are disfavored. Id. (stating that, because a
20    mandatory preliminary injunction “goes well beyond simply maintaining the status quo,”
21    it is “particularly disfavored.”). Thus, in the Ninth Circuit, a request for a mandatory
22    preliminary injunction is subject to “heightened scrutiny and should not be issued unless
23    the facts and law clearly favor the moving party.” Dahl v. HEM Pharmaceuticals Corp.,
24    7 F.3d 1399, 1403 (9th Cir. 1993); see also Doe v. Snyder, 28 F.4th 103, 111 (9th Cir.
25    2022). A plaintiff must demonstrate “extreme or very serious damage” will occur unless
26    the requested injunction is granted. Id. “In plain terms, mandatory injunctions should not
27    issue in ‘doubtful’ cases.” Garcia, 786 F.3d at 740 (quoting Park Vill. Apartment Tenants
28    Ass’n v. Mortimer Howard Tr., 636 F.3d 1150, 1160 (9th Cir. 2011)).



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1            In deciding an application for a preliminary injunction, the Court is permitted to
2     consider the parties’ pleadings, declarations, affidavits, and exhibits submitted in support
3     of and in opposition to the application. See Republic of the Philippines v. Marcos, 862
4     F.2d 1355, 1363 (9th Cir. 1988). “If a movant makes a sufficient demonstration on all four
5     Winter factors (three when, as here, the third and fourth factors are merged), a court must
6     not shrink from its obligation to enforce his constitutional rights, regardless of the
7     constitutional right at issue.” Baird, 81 F.4th at 1041 (internal quotation marks omitted
8     and cleaned up); Brown v. Plata, 563 U.S. 493, 511 (2011)). “It may not deny a preliminary
9     injunction motion and thereby “allow constitutional violations to continue simply because
10    a remedy would involve intrusion into an agency’s administration of state law.” Id.
11    (internal quotations marks omitted).
12    III.   DISCUSSION6
13           A.    Likelihood of Success on the Merits
14           The Second Amendment provides: “A well regulated Militia, being necessary to the
15    security of a free State, the right of the people to keep and bear Arms, shall not be
16    infringed.” U.S. Const. amend. II. The Supreme Court has repeatedly held this right to
17    “keep and bear arms” is among the “fundamental rights necessary to our system of ordered
18    liberty.” United States v. Rahimi, 144 S. Ct. 1889, 1891 (2024) (internal quotations marks
19    omitted). The Court has construed the right as guaranteeing an individual’s right to carry
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22    6
        Requests for judicial notice under Rule 201 of the Federal Rules of Evidence have been
23    filed by Plaintiffs, (ECF Nos. 20-2, 32-6), and LA Defendants, (ECF No. 27-8). Plaintiffs
      object to LA Defendants’ request for judicial notice. See (ECF No. 32-11). Because
24    reliance on the Plaintiffs’ judicial notice submissions was not necessary to the
25    determinization of the Motion, Plaintiffs’ request for judicial notice is denied. LA
26    Defendants’ request for judicial noticed is discussed further in this Order. To the extent
      the Court relies upon a document to which Plaintiffs have objected, the Court overrules the
27    objection for purposes of this Motion; to the extent the Court has not relied on a document
28    to which Plaintiffs have objected, the Court overrules the objection for purposes of this
      Motion. (ECF Nos. 32-12, 32-13, 32-14).


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1     a handgun for self-defense both inside the home, see D.C. v. Heller, 554 U.S. 570 (2008),
2     and outside the home, Bruen, 597 U.S. at 20.7
3            “[L]ike most rights, [however], the right secured by the Second Amendment is not
4     unlimited.” Bruen, 597 U.S. at 21 (quoting Heller, 554 US at 626). Before the Bruen
5     decision, the Courts of Appeals had “coalesced” around a “‘two-step’ framework for
6     analyzing Second Amendment challenges that combines history with means-end scrutiny.”
7     Id. at 17. For the first step, the courts considered whether the regulation was justified
8     because the “challenged law regulate[d] activity falling outside the scope of the right as
9     originally understood.” Id. at 18. For the second step, courts analyzed how close the
10    challenged law “c[a]me[] to the core of the Second Amendment right and the severity of
11    the law’s burden on that right.” Id. Depending on the severity of the burden, courts applied
12    either strict scrutiny or immediate scrutiny to determine whether the government had
13    established that the means (the burden on the right) justified the ends (the governmental
14    interest). See id. at 19.8
15           The Supreme Court in Bruen, however, rejected the two-part means-end scrutiny
16    approach, explaining that its precedent “do[es] not support applying means-end scrutiny in
17    the Second Amendment context.” Id. at 17, 19. Instead, it held:
18           When the Second Amendment’s plain text covers an individual’s conduct, the
19           Constitution presumptively protects that conduct. The government must then
             justify its regulation by demonstrating that it is consistent with the Nation’s
20           historical tradition of firearm regulation. Only then may a court conclude that
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23      The Fourteenth Amendment’s Due Process Clause incorporated the Second Amendment
      right against the states. See McDonald v. Chicago, 561 U.S. 742, 791 (2010).
24    8
        In particular, the Courts of Appeals relied upon the following framework: “If a core’
25    Second Amendment right is burdened, courts apply strict scrutiny and ask whether the
26    Government can prove that the law is narrowly tailored to achieve a compelling
      governmental interest.[ ] Otherwise, they apply intermediate scrutiny and consider whether
27    the Government can show that the regulation is substantially related to the achievement of
28    an important governmental interest.” Id. at 18–19 (internal quotation marks and citations
      omitted).


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1           the individual’s conduct falls outside the Second Amendment’s “unqualified
            command.”
2
3     Id. at 24 (quoting Konigsberg v. State Bar of Cal., 366 U.S. 36, 50, n.10 (1961)). In other
4     words, Bruen now requires a different “two-step evaluation” in which “[c]ourts must, first,
5     determine whether ‘the Second Amendment’s plain text covers an individual’s conduct.’”
6     Rahimi, 144 S. Ct. at 1928 (Jackson, J., concurring) (quoting Bruen, 597 U.S. at 24); United
7     States v. Alaniz, 69 F.4th 1124, 1128 (9th Cir. 2023) (stating first, the threshold inquiry
8     “requires a textual analysis, determining whether the challenger is ‘part of “the people”
9     whom the Second Amendment protects,’ whether the weapon at issue is “in common use”
10    today for self-defense,’ and whether the ‘proposed course of conduct’ falls within the
11    Second Amendment.” (citing Bruen, 597 U.S. at 31–33, and Heller, 554 U.S. at 580, 627)).
12    If the conduct falls within the Second Amendment, “‘[t]he government must then justify
13    its regulation by demonstrating that it is consistent with the Nation’s historical tradition of
14    firearm regulation.’” Rahimi, 144 S. Ct. at 1928 (Jackson, J., concurring) (citing Bruen,
15    597 U.S. at 24).
16          Thus, on a motion for a preliminary injunction, a plaintiff bears the initial “burden
17    of demonstrating the plain text of the Second Amendment covers” the plaintiff’s conduct.
18    Brumback v. Ferguson, No. 1:22-CV-03093-MKD, 2023 WL 6221425, at *4 (E.D. Wash.
19    Sept. 25, 2023); see also Baird, 81 F.4th at 1046 (“[T]he district court’s analysis of the first
20    Winter factor must include consideration of the question whether the conduct that [the
21    statute] regulates is covered by the text of the Second Amendment.”). If the plaintiff meets
22    this burden, the government must then “show that the restriction ‘is consistent with the
23    Nation’s historical tradition of firearm regulation.’” Rahimi, 144 S. Ct. at 1908 (Gorsuch,
24    J., concurring) (quoting Bruen, 597 U.S. at 17).
25          In determining whether an identified historical regulation is “relevantly similar” to
26    the challenged one, a district court considers “‘whether modern and historical regulations
27    impose a comparable burden on the right of armed self-defense and whether that burden is
28    comparably justified.’” Alaniz, 69 F.4th at 1128 (describing the “two metrics” as “how



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1     and why the regulations burden a law-abiding citizen’s right to armed self-defense”
2     (quoting Bruen, 597 U.S. at 29)). In Rahimi, the Supreme Court explained that Bruen’s
3     historical inquiry is “not meant to suggest a law trapped in amber,” but, instead, requires
4     that a court “ascertain whether the new law is ‘relevantly similar’ to laws that our tradition
5     is understood to permit” and “apply[] faithfully the balance struck by the founding
6     generation to modern circumstances.” Id. at 189798 (quoting Bruen, 597 U.S. at 29).
7     “[C]entral to this inquiry,” are considerations of “[w]hy and how the regulation burdens”
8     the Second Amendment right. Id. at 1898. For example, even if a law “regulates arms-
9     bearing for a permissible reason,” if it “does so to an extent beyond what was done at the
10    founding,” it may “not be compatible with the right.” Id. At the same time, if a “challenged
11    regulation does not precisely match its historical precursors,” it may still be “analogous
12    enough to pass constitutional muster.” Id. (citing Bruen, 597 U.S. at 30). Generally, the
13    law must “comport with the principles underlying the Second Amendment.” Id.
14          In analyzing whether the government has met its burden, “[a] district court should
15    not try to help the government carry its burden by ‘sift[ing] . . . historical materials’ to find
16    an analogue.” Baird, 81 F.4th at 1041 (quoting Bruen, 597 U.S. at 60). “The principle of
17    party presentation instead requires the court to ‘rely on the parties to frame the issues for
18    decision.’” Id. (quoting United States v. Sineneng-Smith, 590 U.S. 371, 375 (2020)); see
19    also Bruen, 597 U.S. at 25 n.6 (“Courts are . . . entitled to decide a case based on the
20    historical record compiled by the parties.”). Additionally, under “Winter’s well-settled
21    standards—which apply to Second Amendment claims like any other constitutional
22    claim—courts consider all of the Winter factors and assess irreparable harm and the public
23    interest through the prism of whether or not the plaintiff has shown a likelihood of success
24    on the merits.” Baird, 81 F.4th at 1044.
25          This Court thus applies the above Second Amendment framework, as set forth in
26    Bruen and Rahimi, to each CCW licensing practice challenged by Plaintiffs, keeping in
27    mind the Ninth Circuit’s “doubly demanding” standard for granting mandatory preliminary
28    injunctions, which requires Plaintiffs to “establish that the law and facts clearly favor



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1     [their] position, not simply that [they are] likely to succeed.” Garcia, 786 F.3d at 740
2     (emphasis in original).
3                  1.     Plaintiffs’ Challenges to LASD’s Application Process
4           Under their first claim for relief asserted under the Second Amendment, Plaintiffs
5     assert two theories of liability against the LA Defendants: one based on LASD’s delays in
6     processing CCW applications and one based on LASD allegedly “engaging in forbidden
7     suitability determinations.” See (Compl. ¶ 125). The Motion raises both theories, and the
8     Court considers each in turn.
9
                          a)    Delay in LASD’s Issuance of CCW Licenses
10
11          As outlined above, California law provides that an individual may carry a concealed
12    weapon in public once their CCW license application is approved. Plaintiffs allege,
13    however, that many individuals who have applied for a CCW license with the LASD have
14    been waiting for a decision on their CCW applications for longer than the 120 days
15    contemplated by current California law. See (Mot. at 12–17; Compl. ¶ 125).9 Plaintiffs
16    argue that the delays in LASD’s application processing are unconstitutional under the
17    Second Amendment.
18          As a threshold issue, the Court must classify whether the constitutional challenge
19    being brought by the Plaintiffs is either a facial or as-applied challenge. See Bucklew v.
20    Precythe, 587 U.S. 119, 138 (2019) (“[C]lassifying a lawsuit as facial or as-applied affects
21    the extent to which the invalidity of the challenged law must be demonstrated . . . .”).
22    Although as a caveat to the Motion, Plaintiffs state, “[t]o be sure, Plaintiffs do not believe
23    a waiting period of four months to exercise a right is remotely constitutional,” (Mot. at 15
24
      9
25      Plaintiffs also allege a claim for declaratory and injunctive relief against the LA
26    Defendants for “violations of the California Penal Code” based on LASD’s delays that
      extend beyond 120 days. (Compl. ¶¶ 143–47). Plaintiffs contend, however, that they “do
27    not seek to enforce state law” by their Motion, only to enforce the Second Amendment.
28    See (Reply at 12 n.2). The Court, thus, does not consider Plaintiffs’ fourth claim for relief
      in the Complaint that seeks relief for violations of the California Penal Code.


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1     (emphasis in original)), Plaintiffs have not framed the issues in the Motion as a facial
2     challenge to the 120-day waiting period of California’s CCW regulatory scheme. Instead,
3     two Individual Plaintiffs that reside in LA County are challenging the LASD’s delay in
4     excess of 120 days in assessing their CCW applications. See (Weimer Decl. ¶ 5 (January
5     2023); (Messel Decl. ¶ 5 (July 2022)). The Association Plaintiffs also appear to contend
6     that they are asserting an as-applied challenge on behalf of all individuals who have applied
7     to the LASD for a CCW license whose applications have been pending for more than 120
8     days, whether the applicants have a membership with one of the Association Plaintiffs or
9     not. See (Skadsem Decl. ¶ 6; Stalter Decl. ¶ 10). Plaintiffs ask the Court to enter an order
10    that requires LASD to process all these pending applications for licenses within 120 days.
11    See (ECF No. 20-28). The Court thus first considers whether Association Plaintiffs have
12    standing to assert such a broad challenge.
13
                                i.     Association Plaintiffs’ Challenge Against LASD for
14
                                       Delay
15
16          The Association Plaintiffs challenge the LASD’s delays of more than 120 days in
17    deciding applications for CCW licenses. In support of their challenge, the Association
18    Plaintiffs have submitted the declarations of just two members, both of whom complain of
19    delays in processing their applications for a CCW license. See (ECF No. 20-22 (“Skadsem
20    Decl.”) ¶¶ 2, 6; ECF No. 20-27 (“Stalter Decl.”) ¶¶ 1–2, 10). The Association Plaintiffs
21    seek a preliminary injunction requiring LASD to grant CCW licenses to all individuals who
22    have applied to LASD for a CCW license, whether these applicants are members of one of
23
      the Association Plaintiffs or not. See (Mot. at 16) (“[T]his Court should, at a minimum,
24
      and in accordance with the statute, order LASD to comply with the statute, and issue
25
      permits once applicants have completed their background check and CCW training course
26
      or on day 121 from application submission, whichever is later.”).
27
28



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1             The LA Defendants oppose the Motion, arguing the Association Plaintiffs’ request
2     for relief on behalf of all LASD CCW license applicants goes “far beyond” the standing
3     the Association Plaintiffs claim to have in this case. During the hearing on the Motion,
4     Plaintiffs’ Counsel argued in response that the Association Plaintiffs have associational
5     standing to raise an as-applied challenge on behalf of all CCW applicants who have applied
6     to the LASD for a CCW license whose applications have been pending for more than 120
7     days regardless of the applicant’s membership status. 10 The Court disagrees.
8             “An as-applied challenge contends that the law is unconstitutional as applied to the
9     litigant’s particular . . . activity, even though the law may be capable of valid application
10    to others.” Foti v. City of Menlo Park, 146 F.3d 629, 635 (9th Cir. 1998). An as-applied
11    challenge “does not implicate the enforcement of the law against third parties.” Id.; see
12    also United States v. Perez-Garcia, 96 F.4th 1166, 1182 n.13 (9th Cir. 2024) (declining to
13    “take up the question whether the [challenged] firearm condition may theoretically be
14    applied to others because ‘[a]n as-applied challenge does not implicate the enforcement of
15    the law against third parties’” (quoting Foti, 146 F.3d at 635)). As-applied challenges,
16    therefore, consider the constitutionality of a law or practice as applied to the parties in the
17    case.
18            Here, Plaintiffs have failed to show the Association Plaintiffs have standing to seek
19    the broad relief they request. See id.; see also Ass’n for Accessible Medicines v. Bonta,
20    No. 2:20-CV-01708-TLN-DB, 2022 WL 463313, at *8 (E.D. Cal. Feb. 15, 2022) (agreeing
21    that an injunction brought as an as-applied challenge only applies to the plaintiff). Even if
22    the Association Plaintiffs have standing to challenge LASD’s delays as to the Association
23    Plaintiffs’ members, Plaintiffs have specifically rejected this far narrower relief. Instead,
24
      10
25       During the hearing on the Motion, Plaintiffs’ Counsel also stated that he “believe[s] there
26    is precedent that if an association establishes standing on behalf of one of their members,
      they can challenge the statute generally.” Without deciding whether Plaintiffs’ proposition
27    is true, this statement alludes to associational standing for a facial challenge. Plaintiffs’
28    Counsel, however, affirmed during the hearing that the Motion does not assert a facial
      challenge to California’s CCW statutes.


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1     during the hearing, Plaintiffs’ Counsel reaffirmed the broad scope of Plaintiffs’ request,
2     saying a “general injunction is called for here” and stated, “it would be sort of confusing”
3     to “limit relief to just the members of the association” because “the application would have
4     to say are you a member of CRPA or something like that.” On this record, however, the
5     Association Plaintiffs have not sufficiently demonstrated standing to consider their LASD
6     delay claim. Thus, Plaintiffs have not shown a likelihood of success on the merits of the
7     Association Plaintiffs’ claim against LASD for delay, let alone shown under the heightened
8     standard for mandatory preliminary injunctions that the facts and law are clearly in their
9     favor on that claim.11 The Court therefore denies Plaintiffs’ Motion, insofar as it is based
10    on the Association Plaintiffs’ challenge asserting unreasonable delay on behalf of all
11    individuals that have applications pending with LASD for a CCW license.
12                            ii.   Individual Plaintiffs’ Challenge Against LASD’s Delay
13          Two Individual Plaintiffs Weimer and Messel challenge LASD’s delay in issuing
14    CCW licenses to them, asserting they both have been waiting for a decision from LASD
15    on their CCW applications for over eighteen months.12 See (Weimer Decl. ¶ 5 (January
16    2023); Messel Decl. ¶ 5 (July 2022)). To assert their challenge based on delay, these two
17    Individual Plaintiffs must initially show, per Bruen and Rahimi, that “the plain text of the
18    Second Amendment protects [the Individual Plaintiffs’] proposed course of conduct.”
19    Bruen, 597 U.S. at 32. On this first prong, the parties disagree on the nature of the course
20    of conduct at issue. The Individual Plaintiffs assert that the proposed conduct protected by
21    the Second Amendment is merely the act of obtaining a CCW license in the first place
22    because LASD’s lengthy delays in processing applications have essentially denied the
23    Individuals Plaintiffs the right to such licenses. The LA Defendants, however, argue that
24    the conduct at issue involves acquiring a CCW license within a specific amount of time
25
      11
26       Because of how broadly Plaintiffs have framed their request for relief—namely, as
      requesting that all pending CCW applications to the LASD be granted, which Plaintiffs’
27    Counsel reaffirmed during the hearing, members Skadsen’s and Stalter’s claims also fail.
      12
28       LA Defendants do not appear to dispute that Individual Plaintiffs Weimer and Messel
      each have standing to bring their respective challenge.


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1     and contend that the text of the Second Amendment does not cover the timeliness of CCW
2     license issuances. (LASD Opp. at 15). Both parties acknowledge that the Supreme Court
3     has yet to specifically address time limits and delays in obtaining firearm licenses. See
4     (Mot. at 14–15; Opp. at 15–19).
5           The Ninth Circuit has framed Bruen’s threshold inquiry as a textual analysis that
6     determines “whether the challenger is ‘part of “the people” whom the Second Amendment
7     protects,’ whether the weapon at issue is “in common use” today for self-defense,’ and
8     whether the ‘proposed course of conduct’ falls within the Second Amendment.” Alaniz,
9     69 F.4th at 1128 (citing Bruen, 597 U.S. at 31–33). Neither the Supreme Court nor the
10    Ninth Circuit has addressed how to define the proposed course of conduct under the type
11    of circumstances that are presented in this case.13 See Rahimi, 144 S. Ct. at 1929 (Jackson,
12    J., concurring) (identifying still “unresolved questions,” including but not limited to: “Who
13    is protected by the Second Amendment, from a historical perspective? To what conduct
14    does the Second Amendment’s plain text apply?”); see also Nat’l Ass’n for Gun Rts., Inc.
15
      13
16       It is worth noting, as Justice Jackson did in her Rahimi concurrence, see Rahimi, 144 S.
      Ct. at 1926–30 (citing cases), that multiple levels of courts have long been confounded by
17    this first analytical step and, before Bruen, many courts of appeals simply skipped the first
18    step by assuming that the Second Amendment was triggered. See, e.g., Pena v. Lindley,
      898 F.3d 969, 976 (9th Cir. 2018) (noting that “the courts of appeals have spilled
19
      considerable ink in trying to navigate the Supreme Court’s framework” at step one and thus
20    have decided to “bypass the constitutional obstacle course of defining the parameters of
21    the Second Amendment’s individual right in the context of” Heller’s “presumptively
      lawful” regulations). See also Rahimi, 144 S. Ct. at 1930 (Jackson, J., concurring)
22    (“[W]hen courts signal they are having trouble with one of our standards, we should pay
23    attention.”). But where, as here, the first step under Bruen is disputed, this Court will not
      simply assume that Plaintiffs have met their burden, notwithstanding the difficulties of
24    navigating the first step. Cf. id. at 1932 (Thomas, J., dissenting) (“It is undisputed that
25    § 922(g)(8) targets conduct encompassed by the Second Amendment’s plain text.”); see
26    generally California Rifle & Pistol Ass’n, Inc. v. City of Glendale, 644 F. Supp. 3d 610,
      621 (C.D. Cal. 2022) (finding on a preliminary injunction that “the Court is unpersuaded
27    that a plaintiff may simply assert a general desire to carry a firearm and thereby force the
28    government to provide historical evidence of regulations addressing every separate
      location where the ordinance applies”).


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1     v. City of San Jose, 618 F. Supp. 3d 901, 915 (N.D. Cal. 2022) (noting that “[t]he Supreme
2     Court provided limited guidance on how to define the proposed course of conduct”).
3           Here, based on the record before it, the Court agrees that Individual Plaintiffs’
4     Weimer’s and Messel’s conduct at issue is appropriately defined as the right to carry a
5     firearm in public for self-defense without unreasonable delay.14 The two Individual
6     Plaintiffs assert they have not received a decision on their applications for more than one
7     year—well beyond the CCW statutes’ 120-day assessment period—and further contend
8     that Individual Plaintiff Messel’s application to LASD has been pending for more than two
9     years.15 See (Opp. at 15–18). Although Plaintiffs suggest the LASD’s delay in the issuance
10    of a CCW license crosses the line from acceptable to unreasonable after approximately 121
11    days, the Court does not need to make that determination. For purposes of determining
12    this Motion, the Court will assume that an LASD application that has been “complete”
13    within the meaning of Section 26205(a)16 and pending for eighteen months or more crosses
14
15    14
         The Court acknowledges the LA Defendants’ point that the proposed conduct could more
16    appropriately be defined as the right to carry a firearm without waiting for a CCW license.
      To the extent, however, Plaintiffs’ argument can be construed as a request to
17    “instantaneously” acquire a license to carry a firearm in public, (Mot. at 13 (emphasis in
18    original)), that argument would necessitate the conclusion that most licensing schemes that
      require background checks or training courses are unconstitutional. Bruen, however, does
19
      not support this conclusion. See Bruen, Heller; see also Baird v. Bonta, No. 2:19-CV-
20    00617-KJM-AC, 2023 WL 9050959, at *22 (E.D. Cal. Dec. 29, 2023) (California may
21    require licenses before carrying firearms in public).
      15
         California Penal Code Section 26205(a) states that the licensing authority “shall give”
22    notice of approval or denial “within 120 days of receiving the completed application for a
23    new license, or 30 days after receipt of the information and report from the Department of
      Justice described in [section 26185(a)(2)], whichever is later.” For license renewals, the
24    licensing authority shall give notice within “120 days of receiving the completed
25    application.” See also (Mot. at 15). Plaintiffs do not adequately address what starting point
26    they are using to determine how long their applications have been pending.
      16
         The Court finds LA Defendants arguments persuasive—at least in the abstract—that a
27    mere delay in issuing a CCW license has not typically been found to violate the Second
28    Amendment. Indeed, Bruen implicitly accepts some sort of waiting period by approving
      so-called “shall-issue” licensing schemes that include as part of the application process the


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1     the line. As such, the two Individual Plaintiffs’ conduct is presumptively protected by the
2     Second Amendment. Therefore, the burden shifts to the LA Defendants to establish the
3     second Bruen prong.
4           As stated previously, under the second Bruen prong, the LASD Defendants must
5     show LASD’s more than 18-month delay, as applied to Individual Plaintiffs Weimer’s and
6     Messel’s applications, is “consistent with the Nation’s historical tradition of firearm
7     regulation.”17 Rahimi, 144 S. Ct. at 1891 (quoting Bruen, 597 U.S. at 24). For the LA
8
9     requirement that an applicant take firearms training courses and undergo background
      checks, which inevitably involve some period of delay between applying for a CCW
10    license and its issuance. See Bruen, 597 U.S. at 38 n.9. Further, it is not clear from the
11    Supreme Court’s Second Amendment jurisprudence whether the proper inquiry for
      Bruen’s first prong is to determine whether the conduct states a Second Amendment
12    violation, as opposed to determining whether the requested conduct is simply of the type
13    typically protected by the Second Amendment. See, e.g., Connecticut Citizens Def.
      League, Inc. v. Thody, 664 F. Supp. 3d 235, 253 (D. Conn. 2023), aff’d, No. 23-724-CV,
14
      2024 WL 177707 (2d Cir. Jan. 17, 2024) (“[T]he court’s qualified immunity inquiry is
15    whether the right to such timely process [under the Second Amendment] is ‘clearly
16    established.’ A review of existing case law reveals that the answer is a resounding ‘no.’”).
      Notwithstanding the lack of clarity, neither party here has attempted to provide any analysis
17    as to the text of the Second Amendment even though some of the Supreme Court’s older
18    cases had demonstrated a textual analysis as to the Second Amendment. For example, in
      Heller, the Supreme Court discussed determining the historical scope of the word “bear,”
19
      and how the Founders would have understood “bearing arms” outside of military service.
20    See Heller, 554 U.S. at 592 (after “[p]utting all of these textual elements together,” holding
21    that the words in the Second Amendment “guarantee the individual right to possess and
      carry weapons in case of confrontation,” which was “strongly confirmed by the historical
22    background of the Second Amendment”).
      17
23       Regarding differences between the scope of the constitutional right between 1791 and
      1868, the Supreme Court noted that there “is an ongoing scholarly debate on whether courts
24    should primarily rely on the prevailing understanding of an individual right when the
25    Fourteenth Amendment was ratified in 1868 when defining its scope (as well as the scope
26    of the right against the Federal Government).” Bruen, 597 U.S. at 37–38 (citing A. Amar,
      The Bill of Rights: Creation and Reconstruction xiv, 223, 243 (1998); K. Lash, Re-
27    Speaking the Bill of Rights: A New Doctrine of Incorporation (Jan. 15, 2021) (manuscript,
28    at 2), https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3766917 (“When the people
      adopted the Fourteenth Amendment into existence, they readopted the original Bill of


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1     Defendants to carry their burden under Bruen, they must identify “historical precursors” in
2     effect at the founding that “impos[ed] similar restrictions for similar reasons” and “comport
3     with the principles underlying the Second Amendment.” Rahimi, 144 S. Ct. at 1898; see
4     also Baird, 81 F.4th at 1041–42 (observing that the historical analogue must have been
5     “broadly in effect when the Second or Fourteenth Amendment was ratified”).18                  In
6     particular, the LA Defendants must establish that a historical regulatory regime (1)
7     burdened the individual’s Second Amendment rights in a similar way, the “how”; (2)
8     burdened Second Amendment rights for similar reasons, the “why”; and (3) was applicable
9     “when the Second or Fourteenth Amendment was ratified,” Baird, 81 F. 4th at 1043. See
10    Bruen, 597 U.S. at 29. This comparative inquiry permits abstracting some level of
11    generality.19 The LA Defendants may meet their burden without identifying a specific law
12
13    Rights, and did so in a manner that invested those original 1791 texts with new 1868
      meanings”)). However, the Supreme Court did not specifically resolve the question
14
      because the right defined in Bruen, “the right to keep and bear arms,” was “for all relevant
15    purposes, the same with respect to the right to carry them in public. Id.
      18
16       Though “post-enactment history can be an important tool,” the history that “matters most
      is the history surrounding the ratification of the text,” and “[h]istory (or tradition) that long
17    postdates ratification does not serve that function.” Rahimi, 144 S. Ct. at 1924 (Barrett, J.,
18    concurring).
      19
         Take the Supreme Court’s analysis in Rahimi. The challenged regulation in Rahimi,
19
      Section 922(g)(8), makes it unlawful for an individual who is subject to a domestic violence
20    civil restraining order to possess firearms or ammunition. See Rahimi, 144 S. Ct. at 1930
21    (Thomas, J., dissenting). The eight-Justice majority characterized Section 922(g)(8) as one
      that “disarm[s] individuals who present a credible threat to the safety of others.” Id. at
22    1902. The majority then determined that Section 922(g)(8)’s ban on firearm possession
23    was relevantly similar to the surety and going armed laws because those regimes also
      targeted individuals who presented credible threats to others’ safety—the “why”—and
24    because some of these laws involved a more restrictive penalty, i.e., imprisonment—the
25    “how.” In his dissent, by contrast, Justice Thomas argued that the majority had too broad
26    an approach and thus the historical analogues were not relevantly similar. For example, as
      to the “why,” Justice Thomas found inapposite various English laws from the late 1600s
27    and 1700s, that the Government argued illustrated a tradition of restricting the rights of
28    dangerous individuals, because the types of dangerous people were different: “the English
      were concerned about preventing insurrection and armed rebellion,” while Section


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1     to serve as the comparator: it may be the case, for example, that several regimes of
2     regulations, “[t]aken together,” demonstrate a historical tradition of protecting against a
3     societal problem by burdening the Second Amendment right.20 Rahimi, 144 S. Ct. at 1901.
4     As stated by Justice Barrett, “‘[a]nalogical reasoning’ under Bruen demands a wider lens”
5     than trying to prove that a modern law is “an updated model of a historical counterpart.”
6     Rahimi, 144 S. Ct. at 1925 (Barrett, J., concurring). “Historical regulations reveal a
7     principle, not a mold.” Id.
8           To satisfy their burden, the LA Defendants argue that LASD’s licensing regime that
9     “ensures that those bearing arms in the jurisdiction are in fact law-abiding, responsible
10    citizens” is consistent with the historical tradition of firearm regulation. (LASD Opp. at
11    8). LA Defendants argue, for example, some states “banned concealed weapons or
12    concealed weapon carrying outright.” (Opp. at 19 (citing Baird v. Bonta, No. 2:19-CV-
13    00617-KJM-AC, 2023 WL 9050959, at *22 (E.D. Cal. Dec. 29, 2023))).                   The LA
14    Defendants also identify “60 historical statutes that imposed licensing, permitting, or
15    ticketing requirements as a pre-requisite to public carry.” (LASD Opp. at 20; ECF Nos.
16    27-8, 27-9, 27-10).
17
18
      922(g)(8) is “concerned with interpersonal violence.” Id. at 1935 (Thomas, J., dissenting).
19
      And as to the “how,” Justice Thomas found that the early forfeiture laws identified by the
20    Government did not impose a comparable burden on the Second Amendment right because
21    forfeiture of one or some improperly-stored firearms could “still allow[] a person to keep
      their other firearms or obtain additional ones,” which is “in no way equivalent to
22    § 922(g)(8)’s complete prohibition on owning or possessing any firearms.” Id. at 1937. It
23    is the majority’s approach, however, that “settles on just the right level of generality.” Id.
      at 1926 (Barrett, J., concurring).
24    20
         In Rahimi, for example, the Supreme Court acknowledged that the historical landscape
25    of surety and going armed laws were “by no means identical” to the modern regulation,
26    Section 922(g)(8). Rahimi, 144 S. Ct. at 1901. Nonetheless, “tak[ing] together” the surety
      and going armed laws, the founding era historical landscape confirmed the “common
27    sense” principle that “[w]hen an individual poses a clear threat of physical violence to
28    another, the threatening individual may be disarmed,” and therefore Section 922(g)(8) does
      not violate the Second Amendment. Id.


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1           Plaintiffs respond that the LA Defendants’ showing is insufficient. First, Plaintiffs
2     contend the LA Defendants purportedly rely on laws that post-date both relevant eras.
3     Second, Plaintiffs argue that, to the extent the LA Defendants cite to laws from the
4     Founding era, those laws are “explicitly racist laws that have no place here.” (Reply at 14).
5           The Court finds the LA Defendants have not carried their burden to demonstrate that
6     the over 18-month delays imposed on Individual Plaintiffs Weimer and Messel are part of
7     a historic tradition of firearms regulation. First, Plaintiffs are correct that the only laws
8     from the Founding era to which the LA Defendants cite are those that outlaw carrying
9     based on race, and the LA Defendants do not explain how racial regulations bear on a
10    waiting period. The LA Defendants otherwise cite to regulations allowing municipal
11    authorities to issue CCW licenses, most of which arose for the first time around the 1870s,
12    see (ECF No. 27-9 at 10–16), among various other twentieth century regulations that set
13    forth licensing regimes for CCW licenses.21         This is insufficient to carry the LA
14    Defendants’ burden.
15          The LA Defendants also do not explain how any of the laws they identify provide a
16    similar analogue to the LASD’s more than 18-month delay in deciding the two Individuals
17    Plaintiffs’ applications. See (LASD Opp. at 20 (“LASD has identified 60 historical statutes
18    that imposed licensing, permitting, or ticketing requirements as a pre-requisite to public
19    carry.”)). These statutes appear to merely provide support for the proposition that there is
20
21    21
         Plaintiff objects to the LA Defendants’ request for judicial notice of a “survey of
22    historical license requirements,” a summary document created by Defendants LASD and
23    Luna, arguing that a summary document is not the type of document that can be the subject
      of judicial notice because “the survey does not purport to quote verbatim legislative
24    enactments.” (ECF No. 32-11 at 4). The Court tends to agree with Plaintiffs that a
25    document summarizing other public documents is more properly submitted as an exhibit
26    to a sworn declaration rather than as a document to be judicially noticed. Nevertheless, as
      described herein, the LA Defendants’ arguments have not provided a basis for the Court to
27    consider the contents of the survey document, nor any of the other documents for which
28    the LA Defendants ask the Court to take judicial notice. Therefore, the LA Defendants’
      request for judicial notice of ECF No. 27-9 is denied.


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1     a historical tradition for allowing CCW licensing regimes, generally. This tradition,
2     however, does not appear to involve lengthy delays—let alone delays of 18 months or
3     more. While these historical licensing schemes sometimes wholly prohibited individuals
4     from carrying a concealed firearm, the LA Defendants do not identify whether, or which,
5     of the cited municipalities or states allowed the open carrying of firearms and,
6     consequently, fail to demonstrate that any historical bans or limits on carrying concealed
7     weapons pose the same burden in LA County on individuals (who are prevented from
8     carrying a firearm anywhere without a CCW license). See, e.g., Alaniz, 69 F.4th at 1128.
9           In sum, the LA Defendants’ arguments are insufficient to carry their burden.
10    Plaintiffs have therefore established not only that they are likely to succeed on the merits
11    of their Second Amendment claim, insofar as it challenges LASD 18-month delays as
12    applied to Individual Plaintiffs Weimer and Messel, but also that the facts and law are
13    clearly in their favor as to this challenge. The Court will therefore address later in this
14    order whether Plaintiffs have satisfied for this particular challenge the remaining Winter
15    factors for a preliminary injunction.
16
17                       b)     Plaintiffs’ Challenge of LASD’s Denial of Licenses to Velasquez
                                and Partowashraf
18
19          Plaintiffs move for preliminary injunctive relief against the LA Defendants, broadly
20    arguing that “LASD discretionary denials are unconstitutional” because Bruen allows only
21    for processes that use “narrow, objective, and definite” standards and “flatly prohibits
22    standards that require the ‘appraisal of facts, the exercise of judgment, and the formation
23    of an opinion.” (Mot. at 21–22). Without citing to any legal authority, Plaintiffs argue that
24    “the use of discretionary and subjective criteria should be considered per se government
25    misconduct.” (Id. at 24). According to the Motion, one individual Plaintiff and one
26    member of an Association Plaintiff (CRPA) suffered from this “per se government
27    misconduct.”     Specifically, Plaintiffs assert Individual Plaintiff Velasquez’s CCW
28    application was denied because “he was the victim of a crime” and CRPA member



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1     Partowashraf’s application was denied due to a temporary restraining order (“TRO”) filed
2     against him, even though the TRO was “promptly dissolved” thereafter and his firearms
3     returned to him. (Id. at 22). In Plaintiffs’ view, these denials evidence the LA Defendants’
4     “subjective belief” that Plaintiff Velasquez and Partowashraf were not “model citizens.”
5     (Mot. at 23). Plaintiffs thus ask the Court to rule these denials unconstitutional and order
6     LASD to immediately issue CCW licenses to Plaintiff Velasquez and CRPA member
7     Partowashraf.
8           The LA Defendants contend that LASD’s existing CCW licensing scheme relies
9     only upon objective criteria set forth by the California Penal Code that is “designed to
10    ensure that only those bearing arms in the jurisdiction are, in fact, law-abiding, responsible
11    citizens.” Each subsection of Section 26202 simply asks the official to determine whether
12    an applicant for a CCW license satisfies the objective criteria. If an applicant does not
13    satisfy the objective criteria, the applicant’s CCW application is denied, and LASD does
14    not exercise any discretion when denying a CCW application. (LASD Opp. at 21).
15          As applied to Individual Plaintiff Velasquez and CRPA member Partowashraf, the
16    LA Defendants argue that Plaintiffs’ challenge fails because each of these denials was
17    based on the LASD’s application of objective criteria. Specifically, according to the LA
18    Defendants, CRPA member Partowashraf’s denial was based on an application of Section
19    26202(a)(3), which prohibits CCW licenses from issuing to individuals who are either
20    subject to any restraining order, unless the order “expired or was vacated or otherwise
21    canceled more than five years prior to the receipt” of the CCW license application. (LASD
22    Opp. at 24). CRPA member Partowashraf’s restraining order, which was initially issued
23    based on allegations that he used firearms to intimidate a victim, was dissolved on motion
24    of the victim on July 18, 2022, and thus more than five years had not passed under the
25    statute. (Id.). The LA Defendants argue that Individual Plaintiff Velasquez was denied a
26    CCW license because his firearms were stolen from the trunk of his car after he left three
27    firearms unsecured and unlocked.        Section 26202(a)(9) precludes CCW licenses to
28    individuals whose firearms have been lost or stolen due to the individual’s failure to



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1     comply with federal, state, or local law regarding “storing, transporting, or securing” the
2     firearms. (LASD Opp. at 24). Additionally, the LA Defendants assert that Individual
3     Plaintiff Velasquez also purportedly engaged in the reckless use of firearms when, on April
4     20, 2021, Velasquez “discharged a loaded firearm and unintentionally fired a bullet into
5     the wall,” which under Section 26202(a)(5) also precludes the issuance of a CCW license.
6             Because Plaintiffs’ Motion requesting that the Court order LASD to issue CCW
7     licenses to Individual Plaintiff Velasquez and CRPA member Partowashraf seeks relief
8     “beyond simply maintaining the status quo,” Plaintiffs must satisfy the heightened standard
9     applied to requests for mandatory preliminary injunctive relief. Garcia, 786 F.3d at 740.
10    Plaintiffs, however, have not met their burden of showing a likelihood of success on the
11    merits, let alone that the “facts and law clearly favor” their position. See Dahl, 7 F.3d at
12    1403.
13            As an initial matter, Plaintiffs’ “subjective denial” arguments suffer from a lack of
14    clarity as to the requested scope of relief. For example, Plaintiffs appear to suggest in their
15    reply brief that the applicable subsections of California Penal Code Section 26202(a), such
16    as Section 26202(a)(3), are facially unconstitutional. See (Reply at 15–18 (“Because
17    California Penal Code section 26202(a)(3) commands or allows this [denial], this Court
18    should rule it unconstitutional.”)). But the question of Section 26202(a)’s constitutionality
19    has not been brought before this Court by Plaintiffs’ Motion, and the Court will not
20    consider arguments made for the first time in Plaintiffs’ reply brief. See Zamani v. Carnes,
21    491 F.3d 990, 997 (9th Cir. 2007); see also Baird, 81 F.4th at 1041 (the “principle of party
22    presentation” requires the court to “rely on the parties to frame the issues for decision”
23    (citation omitted)). Additionally, to raise a facial challenge, Plaintiffs “must ‘establish that
24    no set of circumstances exists under which the [law] would be valid,’ or show that the law
25    lacks ‘a plainly legitimate sweep.’” Ams. for Prosperity Found. v. Bonta, 594 U.S. 595,
26    615 (2021) (emphasis in original). Plaintiffs have not met this showing.
27            Nor have Plaintiffs adequately framed their challenge as an as-applied challenge.
28    Instead, Plaintiffs contend that LASD’s denials of Individual Plaintiff Velasquez and



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1     CRPA member Portowashraf’s applications violate the Second Amendment because they
2     were discretionary denials. But Plaintiffs have not demonstrated that the LASD’s denials
3     were, in fact, discretionary and therefore provide no question for this Court to examine
4     under Bruen.
5           Section 26202(a) provides in relevant part: “Unless a court makes a contrary
6     determination pursuant to Section 26206, an applicant shall be deemed to be a disqualified
7     person and cannot receive or renew a license pursuant to Section 26150, 26155, or 26170
8     if the applicant:”
9                  ...
10                 (3) Has been subject to any restraining order, protective order, or other
                   type of court order issued pursuant to the following statutory
11                 provisions, unless that order expired or was vacated or otherwise
12                 canceled more than five years prior to the licensing authority receiving
                   the completed application:
13
14                         (A) Section 646.91 or Part 3 (commencing with Section 6240) of
15                         Division 10 of the Family Code.
                           (B) Part 4 (commencing with Section 6300) of Division 10 of the
16                         Family Code.
17                         (C) Sections 136.2 and 18100.
                           (D) Section 527.6, 527.8, or 527.85 of the Code of Civil
18                         Procedure.
19                         (E) Section 213.5, 304, 362.4, 726.5, or 15657.03 of the Welfare
                           and Institutions Code.
20
                   ...
21
                   (5) Has engaged in an unlawful or reckless use, display, or brandishing
22                 of a firearm.
23                 ...
24                 (9) In the 10 years prior to the licensing authority receiving the
                   completed application for a new license or a license renewal, has
25                 experienced the loss or theft of multiple firearms due to the applicant’s
26                 lack of compliance with federal, state, or local law regarding storing,
                   transporting, or securing the firearm. For purposes of this paragraph,
27
                   “multiple firearms” includes a loss of more than one firearm on the
28



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1                  same occasion, or the loss of a single firearm on more than one
                   occasion.
2
3           Here, Plaintiffs acknowledge that the temporary restraining order against CRPA
4     member Partowashraf was vacated in June 2022, which, according to Section 26202(a)(3),
5     makes Partowashraf a “disqualified person” to obtain a CCW license. See (Reply at 18;
6     Partowashraf Decl. ¶ 5). Indeed, Plaintiffs state that Section 26202(a)(3) “commands” the
7     denial on this basis. (Reply at 18).
8           Similarly, Plaintiffs have not shown that the LA Defendants violated the Second
9     Amendment when LASD denied Individual Plaintiff Velasquez’s CCW application.22
10    Although Plaintiffs acknowledge that “California law makes it a crime to store firearms
11    improperly in a vehicle,” (Reply at 16), they argue that Individual Plaintiff Velasquez was
12    not charged with that crime and that Velasquez represents in his January 2024 declaration
13    that he stored the now-stolen firearms in a “range bag in the locked trunk of [his] car, in
14    compliance with California Penal Code [Section] 25610(a)(1).” (Velasquez Decl. ¶ 6).
15    According to Plaintiffs, LA Defendants must therefore be “speculat[ing]” that Velasquez
16    left the firearms unsecured. (Reply at 16). On this record, however, Plaintiffs, at most,
17    present a factual dispute under Section 26202(a)(9) not ripe for resolution at this stage of
18    the proceedings. Plaintiffs have not shown a likelihood of success or that the facts and law
19    clearly favor their position. Further, Plaintiffs have not clearly demonstrated that the LA
20    Defendants exercised “discretion to deny [the] licenses based on a perceived lack of need
21    or suitability,” Bruen, 597 U.S. at 13, instead of simply applying the objective criteria set
22    forth in Section 26202(a) and denying the application.
23          Because Plaintiffs have not established that the facts and law clearly favor their
24    theory that the LA Defendants denied either Plaintiff Velasquez’s or CRPA member
25    Partowashraf’s application based on LASD’s purported use of “subjective” criteria and
26    22
         While the parties dispute whether Section 26202(a)(5), regarding reckless use of a
27    firearm, involves discretionary criteria, the Court need not reach that question, given that
28    a denial based on the firearm thefts is, on its own, sufficient to require a denial of a CCW
      license under Section 26202(a).


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1     have not even shown a likelihood of success on that issue,23 Plaintiffs’ Motion, insofar as
2     it asserts a challenge based LASD’s denial of Individual Plaintiff Velasquez’s and CRPA
3     member Portowashraf’s CCW applications, is denied.
4                  2.     Plaintiffs’ Challenge of LVPD’s CCW Application Process
5
6                         a)     Plaintiffs’ Challenge of LVPD’s Psychological Test Requirement

7           Plaintiffs contend that LVPD’s psychological testing requirement is unconstitutional
8     because it is “inherently subjective and discretionary,” there is no appeal process, and the
9     administrative burdens of the test dissuade individuals from applying for a CCW license.
10    See (Mot. at 24).24 According to Plaintiffs, the LVPD test involves traveling an hour from
11    La Verne to San Bernadino for an interview from a psychologist who then makes a
12    recommendation to the City of La Verne “based on that individual psychologist’s
13    subjective impressions as to whether the person should be entrusted with Second
14    Amendment rights.”       (Id.).    Plaintiffs further argue that “[n]othing in the Second
15    Amendment requires Plaintiffs to subject themselves to the indignity of a subjective exam
16    as a precondition to exercise their constitutional rights.” (Id. at 25).
17          The LV Defendants contend that LVPD’s psychological testing requirement is
18    permissible because Bruen did not take up the issue of standard-based personality
19
20    23
         Even if Plaintiffs had raised a facial challenge to this statute, Rahimi appears to foreclose
21    such a challenge because the Supreme Court held that prohibiting individuals subject to
      domestic violence restraining orders from possessing firearms pursuant to § 922(g)(8) is
22    constitutional under the Second Amendment.
      24
23       Notwithstanding the Complaint’s challenge to California Penal Code Section 26190(e)
      that allows licensing authorities to require psychological testing in the CCW licensing
24    process, Plaintiffs’ instant Motion does not raise such a challenge to the statute. Belatedly,
25    in reply, Plaintiffs argue that the State is wrong that Plaintiffs do not facially challenge
26    Section 26190(e) because Plaintiffs submitted a proposed order asks that “La Verne be
      ordered to stop requiring a psychological exam,” and Plaintiff’s Complaint calls for
27    enjoining Section 26190(e). (Reply at 32). This argument primarily regurgitates Plaintiffs’
28    challenge to the LVPD psychological test. While Plaintiffs are not precluded from
      pursuing their challenge to Section 26190(e), they did not properly raise it in their Motion.


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1     evaluators, see (LV Opp. at 10–11), and LVPD’s psychological test is part of “taking the
2     steps necessary to confirm that the CCW license applicants are law-abiding citizens that
3     do not pose a danger to themselves, to others or to the community.” (Id. at 11). The LV
4     Defendants further argue that the MMPI, the psychological test LVPD uses, is a
5     “standardized psychometric test of adult personality and psychopathology with an
6     established rubric” that is widely used, including by LVPD for its law enforcement
7     applicants. (Id. at 13). The LV Defendants also dispute that Plaintiffs have proffered any
8     evidence that MMPI is a discretionary tool. (Id. at 14).
9           The Court observes that, in making their arguments, Plaintiffs fail to contend with
10    the Bruen framework and have not addressed their burden of establishing the Second
11    Amendment covers the conduct at issue, leaving the Court with no parameters for which
12    to consider their challenge. Further, the Court does not have a sufficient factual record at
13    this stage of the litigation regarding the actual functioning of the MMPI to determine
14    whether Plaintiffs are likely to succeed on the merits of their claim that the LVPD’s use of
15    the MMPI involves “open ended discretion.” Plaintiffs, therefore, have not carried their
16    initial burden under Bruen to raise a challenge to the LVPD’s use of psychological testing
17    before issuing a CCW license. The Motion is therefore denied as to that challenge.
18
                         b)     Individual Plaintiffs’ Challenge to the LVPD’s CCW Application
19                              Fees
20
            Plaintiffs argue that LVPD’s processing fees for CCW license applications are
21
      unconstitutional and ask the Court to prohibit LVPD from imposing fees greater than the
22
      “standard DOJ CCW license application fee of $93, with the applicants bearing the cost of
23
      the training and live scan requirements.” (ECF No. 20-28; Compl. ¶ 131). Plaintiffs argue
24
      that LVPD’s fees—which purportedly amount to between $900 and $1,200—surpass the
25
      fees of other California jurisdictions and are “dramatically more (many orders of
26
      magnitude more) than what citizens of other states pay,” pointing to fee regimes in Texas,
27
      Arizona, Utah, and Washington. (Mot. at 17–18). According to Plaintiffs, Bruen “clearly
28
      disapproved of” LVPD’s fees because the “‘exorbitant fees [ ] deny ordinary citizens their


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1     right to public carry.’” (Mot. at 18 (citing Bruen, 597 U.S. at 38 n.9)).25 In support,
2     Plaintiffs submit declarations from several declarants who represent the LVPD’s fees have
3     prohibited them from being able to apply for a CCW license.26 Finally, citing to Invisible
4     Empire Knights of Ku Klux Klan v. City of W. Haven, 600 F. Supp. 1427, 1434 (D. Conn.
5     1985), and Bullock v. Carter, 405 U.S. 134, 149 (1972), Plaintiffs ask the Court to consider
6     other constitutional contexts that have held that “fees cannot inhibit people from exercising
7     their rights.” (Mot. at 21).27
8
      25
9        Citing Murphy v. Guerrero, No. 1:14-CV-00026, 2016 WL 5508998, at *24 (N. Mar. I.
      Sept. 28, 2016), Plaintiffs also argue that “under a less stringent standard [than Bruen],”
10    (Mot. At 19), a federal court previously rejected a $1,000 excise tax by finding that the
11    plaintiff demonstrated that the “tax imposes more than a de minimis burden on his [Second
      Amendment] right.” Guerrero, 2016 WL 5508998, at *24. Plaintiffs have not analogized
12    LVPD’s fee, which purportedly aligns specifically with the processing costs of the CCW
13    license applications, to the $1,000 excise tax imposed only on handguns in Murphy.
      Further, Plaintiffs have not explained why a district court decision applying now-rejected
14
      means-ends scrutiny should be considered persuasive authority. See id. at *23.
15    Additionally, Plaintiffs argue that “even pre-Bruen” courts had “implicitly recognized that
16    $1,000 is a constitutionally unreasonable sum to charge for a CCW permit.” (Id. at 20
      (citing Kwong v. Bloomberg, 723 F.d3 160 (2d Cir. 2013))). The Court similarly sees no
17    basis to consider an out-of-circuit opinion using means-end scrutiny.
      26
18       See (Rigali Decl. ¶ 6 (“I live in a senior citizen mobile home park on a fixed income . . .
      [making] the total expense of getting a CCW permit from [LVPD], which is somewhere
19
      between $900-1100 . . . out of the question for me.”); Gabaldon Decl. ¶¶ 5 (“I am self-
20    employed and have a son in college, so an extra $1,000 expense is too much for me at this
21    time.”); Reeves Decl. ¶ 5 (“I wish to reapply for a permit but cannot afford to do so due to
      the excessive application and issuance fees charged by La Verne.”)).
22    27
         Specifically, citing to Kwong v. Bloomberg, 723 F.3d 160 (2d Cir. 2013), Plaintiffs
23    suggest this Court should follow as persuasive authority the 2nd Circuit’s pre-Bruen
      analysis of the constitutionality of a fee on firearm licenses, which considered whether the
24    fee was “designed to defray (and not exceed) the administrative costs associated with the
25    licensing scheme.” (Mot. at 20). Notwithstanding Plaintiffs’ subsequent (correct)
26    statement that this standard was used under the now-repudiated means-ends scrutiny for
      the Second Amendment, Plaintiffs argue that LVPD’s fees would still fail under that
27    standard because, unlike in Kwong, Plaintiffs have offered evidence that the LVPD’s fees
28    are prohibitively high. But such an analysis is inconsistent with Bruen, which expressly
      rejected “means-end scrutiny” as being “inconsistent with Heller’s historical approach”


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1           The LVPD Defendants respond that Plaintiffs are “expand[ing] the holding of Bruen
2     beyond the issue that was actually considered and ruled upon” and assert that there is no
3     Supreme Court precedent holding that a particular amount of processing fees are
4     unconstitutional. (LVPD Opp. at 7, 11). The LV Defendants also argue that footnote 9 in
5     the Bruen opinion, which gratuitously suggests that licensing fees that are “exorbitant” may
6     be unconstitutional, was mere dicta and, in any event, the LVPD’s fees are neither
7     consistent with the dictionary definition of “exorbitant,” (id. at 11), nor are they
8     unreasonable. Instead, asserts the LV Defendants, the fee amounts are the amounts
9     “needed to meet the requirements of the State’s CCW permitting laws,” and the City of La
10    Verne does not profit from the fees. (Id. at 12). The LV Defendants also point to several
11    other California jurisdictions that have higher CCW licensing fees than LVPD’s fees to
12    argue that “[c]harging applicants for the actual costs involved in processing their CCW
13    permit applications is reasonable and clearly does not ‘exceed[] customary or appropriate
14    limits or amounts.’” (Id. at 13).
15          In asserting their respective arguments, neither party has addressed the Bruen
16    framework at all. Ignoring their burden under the first Bruen prong, Plaintiffs instead cite
17    to pre-Bruen tests to argue the unconstitutionality of fees, and do not endeavor to define—
18    or even address—the conduct at issue and whether it falls within the protections of the text
19    of the Second Amendment. The LV Defendants, for their part, have not submitted any
20    historical analogues of Founding-era laws that imposed licensing fees and, instead, point
21    to contemporary fees imposed by various jurisdictions within California. See (ECF No.
22    23-4 ¶¶ 6–7, ECF No. 23-5). Similarly, in their Reply, Plaintiffs argue in support of their
23    claims that contemporary comparators, such as current fees imposed in Arizona and Utah,
24    demonstrate that the LVPD’s fees are too high. See (Reply at 29–33).
25
26
27    and held that regulations burdening Second Amendment conduct may be found
28    constitutional “[o]nly if [the] firearm regulation is consistent with this Nation’s historical
      tradition.” 597 U.S. at 24.


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1           On this record, Plaintiffs’ arguments have provided no basis to grant their request
2     for a preliminary injunction. Thus, the Court declines Plaintiffs’ Motion, insofar as it
3     challenges the constitutionality of LVPD’s fees.
4
5                  3.     Plaintiffs’ Challenge of the State’s Residency Requirement for CCW
                          Licenses
6
7           Among the named Individual Plaintiffs and members of Plaintiff Association are
8     individuals who do not reside in California but have a CCW license from a different state
9     and wish to carry a firearm while traveling in California. (Hoover Decl. ¶ 4; Broady Decl.
10    ¶ 3).28 Plaintiffs argue that it is unconstitutional for California to use California residency
11    as a requirement to lawfully carry a concealed weapon because it leaves non-Californians,
12    who have the right to carry in other states, with “no ability to exercise the right to carry in
13    this state.” (Mot. at 26). Plaintiffs ask the Court to enjoin the State from imposing criminal
14    penalties under California Penal Code Section 25850 against out-of-state Plaintiffs who
15    have licenses issued from other states. See (ECF No. 20-28 ¶ 4). Further, Plaintiffs request
16    that the Court order the State to recognize out-of-state CCW licenses. See (Reply at 23).29
17    Because Plaintiffs seek relief that goes beyond the status quo, Plaintiffs’ challenge is
18    subject to “heightened scrutiny” requiring that Plaintiffs show for preliminary injunctive
19
20
21    28
         As discussed later in this Order, certain of the Individual Plaintiffs reside in California
22    but possess out-of-state CCW licenses that California does not recognize. Plaintiffs argue
23    that the State’s failure to recognize these out-of-state licenses violates the Equal Protection
      Clause of the Fourteenth Amendment and the Privileges and Immunities Clause of Article
24    IV. Plaintiffs also appear to imply that California’s failure to recognize the out-of-state
25    licenses of the Individual Plaintiffs who are California residents also violates the Second
26    Amendment. See (Mot. at 26; (Rigali Decl. ¶ 5; Reeves Decl. ¶ 4; Minnich Decl. ¶ 14),
      The Plaintiffs, however, have not presented any argument in that regard based on the
27    Second Amendment, and the Court will not supply such an argument.
      29
28       Plaintiffs state that they “have sought only reciprocity for their out-of-state issued
      permits, not reciprocity with the permitless [sic] carry some other states allow.” (Id.).


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1     relief the facts and law clearly favor their claims. Dahl, 7 F.3d at 1403. With this standard
2     in mind, the Court considers Plaintiffs’ challenge under the Bruen framework.
3           As stated previously, under Bruen, Plaintiffs have the initial burden to demonstrate
4     they are part of “the people whom the Second Amendment protects,” whether the “weapon
5     at issue is in common use today for self-defense,” and whether the “proposed course of
6     conduct falls within the Second Amendment.” Alaniz, 69 F.4th at 1128 (cleaned up) (citing
7     Bruen, 597 U.S. at 31–33). Plaintiffs’ Motion argues both that the Second Amendment (1)
8     prohibits California from refusing to allow non-residents to apply for a CCW licenses
9     within California; and (2) requires California to recognize CCW licenses from out-of-state.
10    To satisfy the first prong of Bruen, Plaintiffs assert “[their] proposed course of conduct
11    clearly meets the plain text of the Second Amendment,” namely, “a desire to carry firearms
12    for self-defense when they visit California.” (Reply at 19). The State, by contrast, argues
13    that the proper definition of the proposed conduct is “a traveler’s right to rely on a foreign
14    license to carry within the State of California.” (Bonta Opp. at 11).
15          Here, Plaintiffs have only demonstrated that the text of the Second Amendment
16    likely applies to the first of its arguments, that non-residents have the right, like California
17    residents, to apply to lawfully carry firearms for self-defense while in public. See Bruen,
18    597 U.S. at 32 (“Nothing in the Second Amendment’s text draws a home/public distinction
19    with respect to the right to keep and bear arms”). As to the second argument, Plaintiffs
20    have not presented any argument that CCW license reciprocity for out-of-state residents is
21    conduct that falls within the text of the Second Amendment. Instead, Plaintiffs argue that
22    an “analogous issue” was decided by the Supreme Court in Obergefell v. Hodges, 576 U.S.
23    644 (2015), when the Court held that the Fourteenth Amendment prohibits a State from
24    denying a marriage license to couples of the same sex and requires the State to recognize
25    same-sex marriages that were lawfully licensed and performed out-of-state. Plaintiffs only
26    state that the “holding and its logic” should “apply with equal force to the enumerated right
27    to bear arms found in the Second Amendment.” (Mot. at 26). But the Supreme Court
28    based its holding in Obergefell on the Equal Protection Clause and substantive due process,



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1     and the Court held that there was “no lawful basis for a State to refuse to recognize a lawful
2     same-sex marriage performed in another State on the ground of its same-sex character.”
3     Obergefell, 576 U.S. at 681. Here, by contrast, the Supreme Court has recognized in the
4     CCW licensing context that each state may engage in some regulation of firearms. See
5     generally Bruen, 597 U.S. at 13 n.1. Plaintiffs have therefore failed to show that the
6     circumstances here are analogous to those in Obergefell. As such, Plaintiffs have not
7     shown a likelihood of success on the issue of reciprocity or that the law clearly favors their
8     reciprocity challenge theory under the Second Amendment. The Court therefore proceeds
9     to the second Bruen step only as to Plaintiffs’ first argument regarding non-residents having
10    the right to apply for CCW licenses in California.
11          As set forth above, the State bears the burden of showing whether California’s
12    residency requirements for a CCW license is “consistent with the Nation’s historical
13    tradition of firearm regulation.” Rahimi, 144 S. Ct. at 1891. To satisfy this burden, the
14    State contends generally that historical tradition supports locality-based licensing laws.
15    First, the State argues that, generally, “if a person during the founding or Reconstruction
16    eras were carrying a firearm, they would have had to comply with a local jurisdiction’s law
17    when they reached its border, regardless of any differing laws in their home state or
18    locality.” (Bonta Opp. at 14). Defendant also points to public carry laws prohibiting
19    carrying concealed weapons in particular localities to argue that that “virtually every state
20    in the country restricted or criminalized [concealed carry of pistols].” (ECF No. 25-1
21    (“Spitzer Decl.”) ¶ 18); see also (ECF No. 26-3 (“Rivas Decl.”) ¶ 16). According to the
22    State, this “local nature” of restrictions is apparent in various states’ municipal laws from
23    1837, 1849, 1851, and 1870–1917, arguing that it was common for municipalities to have
24    different policies than the state as a whole. See (Bonta Opp. at 15–16; Rivas Decl. ¶¶ 40,
25    52–54; ECF No. 25-2 (“Vorenberg Decl.”) ¶¶ 17–19).
26          Second, the State argues that several localities’ early licensing laws prohibited non-
27    residents from applying for a license to carry a firearm within the locality and points the
28    Court to three laws. Specifically, in 1910, Georgia made it unlawful for someone to carry



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1     a firearm “without first taking out a license from the Ordinary of the respective counties in
2     which the party resides.” (Bonta Opp. at 17 (citing 1910 Ga. Laws 134, No. 432)). Oregon
3     required, in 1913, that anyone purchasing a firearm have a license signed by an official “in
4     the county wherein such person resides.” (Id. (citing 1913 Or. Laws 497, ch. 256)). And
5     in 1925, West Virginia required anyone who wanted to carry “dangerous or deadly
6     weapons (including pistols) in West Virginia,” to obtain a license to carry by demonstrating
7     both that the applicant had been “a bona fide resident of [that] state for at least one year”
8     and “‘of the county’ in which they filed their application” for sixty days. (Id. (citing W.
9     Va. Acts 25, ch. 3§ 7(a)). Recognizing that each of these laws came after the Founding
10    and Reconstruction, the State contends that these three laws reflect the “previously settled
11    practices and assumptions” that states and municipalities could enact their own licensing
12    schemes and impose the restrictions on non-residents. Therefore, the State argues, these
13    laws that purportedly limited firearm licenses to residents “fit[] comfortably within the
14    Nation’s history and tradition of firearm regulation.” (Id.).
15          Plaintiffs contend Defendants’ showing is inadequate primarily due to an “almost
16    total lack of Founding era history.” (Reply at 21). Plaintiffs argue that, at most, the State
17    has identified a “post-Founding and post-Reconstruction tradition for licensing schemes in
18    general.” (Id. at 22). Plaintiffs also point to the “plethora of historical laws” that provided
19    “traveler exceptions to carry laws,” which purportedly gave “nonresidents more leeway to
20    carry.” (Mot. at 28). For example, in the 1870s, the cities of Sacramento and Oakland
21    enacted laws that made carrying a pistol without a license unlawful, except as to
22    “traveler[s] actually engaged in making a journey.” See (Mot. at 28).
23          As outlined above, for the State to carry its burden, it must establish that a historical
24    regulatory regime (1) burdened the individual’s Second Amendment rights in a similar
25    way, the “how”; (2) burdened Second Amendment conduct for similar reasons, the “why”;
26    and (3) was applicable “when the Second or Fourteenth Amendment was ratified,” Baird,
27    81 F. 4th at 1043. Here, the State has only carried its burden as to the “how.”
28



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1           For clarity and for purposes of this Motion: the present issue is that nonresident
2     Plaintiffs’ Second Amendment rights to lawfully carry firearms in public for self-defense
3     are burdened—indeed, entirely barred—by California’s statute that allows only
4     Californians to apply for CCW licenses. The only historical analogues offered by the State
5     that involve a remotely similar method of burdening Second Amendment conduct, namely,
6     limiting exercise of Second Amendment rights to a state’s own residents, are the 20th
7     century laws in Georgia, Oregon, and West Virginia.30 And, of those, only Georgia’s and
8     West Virginia’s laws involve a comparable burden—the cited Oregon law dealt only with
9     purchasing firearms, which is distinct from carrying already-owned firearms.                Both
10    Georgia’s and West Virginia’s laws did limit the ability to carry to their residents, or at
11    least imposed a residency requirement before one could acquire a license to carry. Georgia,
12    for example, made it unlawful to carry a firearm without first applying for a license “from
13    the Ordinary” of the county in which he presides. West Virginia imposed residency
14    restrictions on those applying for a license to carry, including demonstrating bona fide
15    residency of the State for at least one year and the relevant county (in which the license
16    was pending) for sixty days. The State has thus demonstrated that the identified analogues
17    satisfy the metric of “how” a “regulation burden[s] a law-abiding citizen’s right to armed
18    self-defense.” Bruen, 597 U.S. at 29; see also Perez-Garcia, 96 F.4th at 1184 (finding that
19    Founding-era “pretrial disarmament imposed ‘a comparable burden’ on defendants’
20
21
22
      30
23      For the purposes of this Motion for preliminary injunctive relief, and with consideration
      of the burdens specific to that stage of the proceedings, the Court focuses its analysis on
24    the analogues specifically raised by the parties in their briefing. See United States v.
25    Sineneng-Smith, 590 U.S. 371, 375 (2020) (“In both civil and criminal cases, in the first
26    instance and on appeal . . . , we rely on the parties to frame the issues for decision and
      assign to courts the role of neutral arbiter of matters the parties present.” (citation omitted));
27    see also May v. Bonta, No.: SACV 23-01696, 2023 WL 8946212, at *7 n.5 (C.D. Cal. Dec.
28    20, 2023) (limiting discussion on a motion for preliminary injunction to specific laws cited
      within the parties’ briefs).


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1     Second Amendment rights as the Bail Reform Act’s firearm condition imposes on
2     Appellants today”).31
3            The State has failed, however, to demonstrate the “why” in the analysis—that the
4     Georgia and West Virginia analogues burdened Second Amendment conduct for the same
5     reasons. The State suggests that requiring individuals to be residents before acquiring a
6     CCW license is justified because it ensures that CCW licenses are only held by law abiding
7     citizens.   See (Bonta Opp. at 20).      Though California “continuously monitor[s] the
8     eligibility of CCW license holders,” and revokes licenses if an individual “later becomes
9     disqualified,” California does not have the ability to continuously monitor the eligibility of
10    non-residents. (Id.) But the State has not provided the “why” behind the West Virginia or
11    Georgia analogues. Therefore, the State has provided the Court with no ability to evaluate
12    whether they were enacted for similar reasons as California. The State’s showing is thus
13    insufficient to demonstrate that these laws are relevantly similar. See Rupp, 2024 WL
14    1142061, at *21 (finding regulations insufficiently similar when, even though the presented
15    analogues “used a similar ‘how,’” they were “enacted with a somewhat different ‘why’ in
16    mind”).
17           Finally, the State has also not demonstrated that the West Virginia and Georgia
18    analogues derive from the relevant period or even that they represent a consensus or
19    tradition from other states. As a threshold issue, these laws are only from the 20th century,
20    not the Founding or Reconstruction eras. See Bruen, 597 U.S. at 36–36. Without
21    identifying any similar laws before either the Founding or Reconstruction, the State has
22    not carried its burden at this stage to show that the limitation of CCW licenses to California
23    residents is part of a historical tradition of this Nation. See id. at 66 n.28 (“We will not
24    address any of the 20th-century historical evidence brought to bear by respondents
25    [because] the 20th-century evidence presented by respondents . . . does not provide insight
26
27    31
        See also Rupp v. Bonta, --- F. Supp. 3d ---, No. 8:17-cv-00746-JLS-JDE, 2024 WL
28    1142061, at *20 (C.D. Cal. Mar. 15, 2024) (finding the state “identifie[d] four laws that
      banned possession (the same ‘how’) of dangerous and unusual weapons”).


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1     into the meaning of the Second Amendment when it contradicts earlier evidence.”). That
2     there were laws from the Founding era demonstrating a (purported) consensus among the
3     states of regulating the manner of carrying within each state does not, as the State argues,
4     speak to whether the States during the Founding era limited the ability to carry firearms to
5     only their residents. The State has pointed the Court to no history on that point.32 The
6     State has thus failed to demonstrate that it is likely that its residency requirement to apply
7     for a CCW license is part of a historical tradition of this Nation.
8           The Court will therefore analyze shortly the remaining Winters factors as to
9     Plaintiffs’ challenge seeking an order allowing non-residents to apply for a CCW license,
10    as well as Plaintiffs’ challenge regarding the lengthy delay in deciding the two LASD
11    Individual Plaintiffs’ LASD applications. For the reasons stated above, the Court denies
12    the Motion as to Plaintiffs’ reciprocity challenge that California must recognize out-of-
13    state CCW licenses.
14
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16    32
         Plaintiffs suggest that the infamous Dred Scott v. Sandford decision demonstrates that
17    there was a historical tradition of allowing citizens of each State to enter any other state
18    while carrying their firearms based on, as Plaintiffs frame it, then-Chief Justice Taney’s
      concern with freed-slaves’ ability to “enter every other State . . . and to keep and carry arms
19
      wherever they went.” See (ECF No. 32-1 (“Cramer Decl.”) ¶¶ 31–32). The Court is not
20    persuaded that Dred Scott has any precedential value, given both its repugnant historical
21    standing and its holding, or that it even stands for the proposition for which Plaintiffs offer
      it. For example, Plaintiffs have pulled the phrase “enter every other state” out of a multi-
22    clause sentence (which includes intervening terminal punctuation) to suggest that the
23    clause “entering every other state” modifies the later-clause “to keep and carry arms.” See
      Dred Scott v. Sandford, 60 U.S. 393, 417 (1857), superseded (1868). To be sure, the Court
24    acknowledges that Justice Thomas similarly references Dred Scott. But Justice Thomas
25    does so only to offer it as corroborating evidence of the right to public carry, in general.
26    See Bruen, 597 U.S. at 61. There is no question, after Bruen, that there is a general right
      to public carry and there is no question that States may regulate that right. See Bruen, 597
27    U.S. at 13 (implying that shall-issue CCW regimes are currently lawful). In short,
28    precedential value aside, the Court does not find Dred Scott relevant to the narrower
      question presented in the Motion.


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1                  4.    Plaintiffs’ Due Process Claim Against the LVPD’s CCW Psychological
                         Examination Requirement
2
3           Plaintiffs argue that LVPD’s “psychological exam process” violates “due process
4     protections” because the “current scheme of psychological exams required by LVPD” has
5     no procedural safeguards, such as judicial hearings, evidentiary standards, the right to call
6     supporting witnesses, and the right of appeal. (Mot. at 25). The Complaint, however,
7     asserts a due process claim only against the State (whom the Motion does not address), not
8     Defendant LVPD. Accordingly, the Court does not consider Plaintiffs’ due process
9     argument regarding LVPD’s psychological testing under this claim and denies the Motion
10    to the extent it seeks to enjoin Defendant LVPD’s psychological testing requirement on
11    this ground.33
12
                   5.    Plaintiffs’ Other Constitutional Challenges Brought by Out-of-State
13                       Plaintiffs
14
15          The Complaint asserts two other claims against the State regarding restrictions on
16    non-residents; one under the Fourteenth Amendment and one under Article IV. See
17    (Compl. ¶¶ 155–67). In the Motion, Plaintiffs argue that (1) California’s “policy of denying
18
      33
         The Court also questions whether a substantive due process claim is the appropriate
19
      vehicle for a right that is enumerated in the Bill of Rights. The Supreme Court has been
20    “reluctant to expand the concept of substantive due process because guideposts for
21    responsible decisionmaking in this uncharted area are scarce and open-ended.”
      Washington v. Glucksberg, 521 U.S. 702, 720 (1997) (citation omitted). Consistent with
22    this sentiment, the Supreme Court has also declined to analyze a constitutional claim using
23    a substantive due process analysis “if the claim is covered by a specific constitutional
      provision.” Cnty. of Sacramento v. Lewis, 523 U.S. 833, 843 (1998); see also Fontana v.
24    Haskin, 262 F.3d 871, 882 (9th Cir. 2001) (same); Clifton v. United States Dep’t of Just.,
25    615 F. Supp. 3d 1185, 1205 (E.D. Cal. 2022) (declining to consider a substantive due
26    process challenge to a claim regarding the right to bear arms “because plaintiff’s
      substantive due process claim is duplicative of his Second Amendment claim”); Baird v.
27    Becerra, No. 2:19-cv-00617-KJM-AC, 2020 WL 5107614, at *9 (E.D. Cal. Aug. 31, 2020)
28    (rejecting a plaintiff’s “attempt to shoehorn [the] Second Amendment claims into a
      substantive due process claim”).


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1     out-of-state residents the ability to lawfully exercise” their right to be armed in public
2     violates the Equal Protection Clause of the Fourteenth Amendment because the residency
3     requirement is a “regulation and classification[] that impose[s] a penalty or impermissible
4     burden on the right to travel” without a “compelling government interest,” and (2) that
5     “California’s refusal to honor the CCW permits/licenses issued by its sister states” violates
6     the Privileges and Immunities Clause of Article IV of the Constitution by discriminating
7     based on residency. (Mot. at 27); see also (Compl. ¶¶ 160, 167).
8           Though Plaintiffs suggest that they have asserted their CCW license reciprocity
9     contention under their Privileges and Immunities claim for relief, the Complaint does not
10    do so. The Complaint asserts only that “California’s law of refusing to accept CCW
11    applications from citizens of other states” violates the Privileges and Immunities clause.
12    See (Compl. ¶¶ 162–67 (emphasis added)).34 Accordingly, the Court will not address
13    Plaintiffs’ reciprocity argument, which, in the Motion, is the only argued basis for
14    Plaintiff’s asserted Privileges and Immunities Clause violation. See generally Wasco
15    Prods., Inc. v. Southwall Techs., Inc., 435 F.3d 989, 992 (9th Cir. 2006) (“The necessary
16    factual averments are required with respect to each material element of the underlying legal
17    theory. . . .” (internal quotation marks, alteration, and citation omitted)).
18          Furthermore, because the Court already found that Plaintiffs are likely to succeed on
19    the merits of their Second Amendment claim alleging that California’s residency
20    requirement for CCW applications is unconstitutional, the Court does not address whether
21    that residency requirement also violates the Fourteenth Amendment or the Privileges and
22    Immunities Clause.35
23
      34
         Under their Equal Protection claim, Plaintiffs similarly have only challenged the
24    residency requirement for CCW applications and have not explicitly raised a reciprocity
25    challenge. See (Compl. ¶¶ 155–61).
      35
26       The Court is also not persuaded though that Plaintiffs have met their burden, at least as
      presented in this Motion, to demonstrate a likelihood of success as to either of these claims.
27    As to Plaintiff’s Fourteenth Amendment claim, Plaintiffs offer no more than a conclusory
28    paragraph in its opening Motion (and nothing in Reply) to argue that California’s residency
      requirement for applications burdens the right to travel by burdening the right to be armed


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1           B.     Irreparable Harm
2           Because the only claims for which Plaintiffs have shown they have a likelihood of
3     success concern (1) LA Defendants’ delay as to Individual Plaintiffs Weimer and Messel
4     and (2) California’s residency requirement for CCW applications, the only Defendants’
5     arguments the Court considers for the remaining Winters factors are those of the State and
6     the LA Defendants.
7           Plaintiffs argue that they face irreparable harm because their Second Amendment
8     rights will be violated absent preliminary injunctive relief. In opposition, LA Defendants
9     argue that Plaintiffs make no showing of irreparable harm outside of their assertion that
10    they suffered constitutional violations. For its part, the State argues that the challenged
11    laws have been in effect for “many years,” and Plaintiffs delay in requesting injunctive
12    relief demonstrates a lack of urgency and cuts against their claims of irreparable harm.
13    (Bonta Opp. at 27).
14          To obtain a preliminary injunction, a plaintiff must show that irreparable harm is
15    likely in the absence of preliminary relief. Winter, 555 U.S. at 20. “It is well established
16    that the deprivation of constitutional rights ‘unquestionably constitutes irreparable injury.’”
17    Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012) (quoting Elrod v. Burns, 427 U.S.
18    347, 373 (1976)); see also Goldie’s Bookstore, Inc. v. Superior Ct. of State of Cal., 739
19    F.2d 466, 472 (9th Cir. 1984) (“An alleged constitutional infringement will often alone
20    constitute irreparable harm.”). Although a delay, alone, in seeking injunctive relief “is not
21    a determinative factor in whether the grant of interim relief is just and proper,” Miller for
22    & on Behalf of N.L.R.B. v. California Pac. Med. Ctr., 991 F.2d 536, 544 (9th Cir. 1993),
23
24    in public. As to the Privileges and Immunities claim, as described above, Plaintiffs
25    similarly offer no more than a three-sentence paragraph in the Motion (and again, nothing
26    in Reply) that California’s failure to “honor the CCW permits” of its “sister states”
      frustrates the “constitutionally mandated policy” of “bar[ring] discrimination based on
27    their status as a citizen of another state.” (Mot. at 27). These two paragraphs do very little,
28    if anything, to demonstrate that these claims have a likelihood of success on the merits, let
      alone that the law and facts clearly favor these claims.


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1     on reh’g, 19 F.3d 449 (9th Cir. 1994), such delay is weighed against the moving party
2     because an injunction is “sought upon the theory that there is an urgent need for speedy
3     action to protect the [party’s] rights.” Lydo Enterprises, Inc. v. City of Las Vegas, 745 F.2d
4     1211, 1213 (9th Cir. 1984); see also Oakland Trib., Inc. v. Chron. Pub. Co., 762 F.2d 1374,
5     1377 (9th Cir. 1985) (stating that a “long delay before seeking a preliminary injunction
6     implies a lack of urgency and irreparable harm”).
7           For the reasons described above, Plaintiffs have demonstrated a likely Second
8     Amendment violation due to LASD’s delay as to the two Individual Plaintiffs and based
9     on California’s residency requirement.       That likely constitutional violation therefore
10    weighs heavily in favor of a finding of irreparable harm. See, e.g., Elrod, 427 U.S. at 373.
11    As to the State’s delay argument, Plaintiffs’ only response is that “Bruen made Plaintiffs’
12    claims viable.” (Reply at 36). But Bruen has been the law since June 2022, almost two
13    years ago, and Plaintiff Hoover was denied his California CCW license based on residency
14    in the summer of 2023. See (Hoover Decl. ¶ 4).36
15          Notwithstanding, the likely deprivation of Plaintiffs’ constitutional rights is
16    sufficient to demonstrate irreparable harm. See (Hoover Decl. ¶ 4, Broady Decl. ¶¶ 3–4);
17    see also Baird, 81 F.4th at 1047 (instructing the district court in a Second Amendment case
18    that, “[b]ecause even a brief deprivation of a constitutional right causes irreparable injury,
19    the district court must quickly determine whether the Winter factors favor issuance of a
20    preliminary injunction in this case, and if so, not ‘shrink from [its] obligation to enforce
21    [their] constitutional rights.” (first citing Cuviello v. City of Vallejo, 944 F.3d 816, 831–
22    34 (9th Cir. 2019), and second citation omitted)). And, as to the State’s delay argument,
23    Plaintiffs are correct that, before Bruen, the Supreme Court had not yet held that individuals
24    had a general right to carry outside the home. Thus, the possible rights that could be
25
26
27    36
        On the other hand, Plaintiff Broady is newly a nonresident of California and, up until he
28    left in 2020, was able to carry while he was here. See (Broady Decl. ¶¶ 3–4).



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1     vindicated regarding a CCW license pre-Bruen were different. Accordingly, the record
2     supports a finding of irreparable harm absent preliminary injunctive relief.
3           C.     Balance of Equities and Public Interest
4           When, as in this case, the government is a party, the analysis of the remaining two
5     Winter factors merges. See Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th
6     Cir. 2014) (citing Nken, 556 U.S. at 435). The balance of equities factor focuses on “the
7     effect on each party of the granting or withholding of the requested relief.” Winter, 555
8     U.S. at 24. By contrast, “[t]he public interest inquiry primarily addresses impact on non-
9     parties rather than parties.” League of Wilderness Defs./Blue Mountains Biodiversity
10    Project. v. Connaughton, 752 F.3d 755, 756 (9th Cir. 2014) (quoting Sammartano v. First
11    Judicial Dist. Court, 303 F.3d 959, 974 (9th Cir. 2002)).
12          In a recent case that considered Bruen’s impact on the preliminary injunction factors,
13    the Ninth Circuit noted that a plaintiff who can show that a statute “likely violates the
14    Constitution” will also “usually show ‘that both the public interest and the balance of the
15    equities favor a preliminary injunction.’” Baird, 81 F.4th at 1044 (first citation omitted,
16    also citing Am. Beverage Ass’n v. City & Cnty. of San Francisco, 916 F.3d 749, 757–58
17    (9th Cir. 2019) (recognizing that a showing of likelihood of success on the merits of a
18    constitutional claim “compels a finding” that the balance of hardships and the public
19    interest favor issuance of a preliminary injunction)). The Ninth Circuit specifically
20    instructed that, if plaintiffs established a likely violation of the Second Amendment under
21    Bruen, a district court “must account for the impact that determination has on the remaining
22    Winter factors when it analyzes each of them,” and “recogniz[e] that, in cases involving a
23    constitutional claim, a likelihood of success on the merits usually establishes irreparable
24    harm, and strongly tips the balance of equities and public interest in favor of granting a
25    preliminary injunction.” Id. at 1048 (citations omitted).
26          Plaintiffs argue that Defendants “cannot suffer harm from an injunction that merely
27    ends an unlawful practice.” (Mot. at 30). Further, Plaintiffs contend that an injunction is
28    in the public interest because individuals with CCW licenses have “exceedingly low



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1     homicide rates,” and thus allowing nonresidents to apply for CCW licenses will not harm
2     the public. (Reply at 38). Disputing Defendants’ suggestion that more CCW licenses will
3     increase gun violence, Plaintiffs assert that the more individuals who are allowed to
4     lawfully carry concealed weapons, the more likely it is that these individuals can stop
5     criminals, such as “[m]ass killers,” before “committing their atrocities.” (Id.).
6              In response, the State argues that a state always suffers “a form of irreparable injury”
7     when a court enjoins a statute, “enacted by representatives of its people.” (Bonta Opp. at
8     27). The State also argues that an injunction would harm Defendants’ interest in promoting
9     public safety by limiting the right to carry to only “law-abiding, responsible citizens.” See
10    (id.).     LA Defendants argue that forcing the LASD into the “impracticable,
11    unadministrable, and frankly impossible task” of processing the “nearly 10,000 permit
12    backlog within 120 days” would lead to the reckless issuance of CCW licenses to
13    individuals who possibly should not hold them. See (LASD Opp. at 28–29).
14             The Court finds that the third and fourth Winters factors are satisfied, as Plaintiffs
15    have established that their constitutional rights have been violated. A constitutional
16    violation “strongly tips the balance of equities and public interest in favor of granting a
17    preliminary injunction.” Baird, 81 F.4th at 1048; see also Cal. Chamber of Commerce v.
18    Council for Educ. and Research on Toxics, 29 F.4th 468, 482 (9th Cir. 2022) (“It is always
19    in the public interest to prevent the violation of a party’s constitutional rights.” (cleaned
20    up)). Neither the State nor LA Defendants’ arguments counteract that balance. Concerns
21    for the public safety, to be sure, are important. But the State does not explain how an order
22    enjoining only the residency requirement for applications, which would still require
23    nonresidents to apply for a CCW license in accordance with California law, would impact
24    public safety.      And LA Defendants’ (justified) concerns over the practicalities of
25    processing 10,000 applications do not apply to processing the two applications discussed
26    in this Order.
27             Therefore, Plaintiffs have satisfied all of the Winters factors for their challenges as
28    to the LASD’s delay of the two LASD Individual Plaintiffs as specified above and as to



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1     the California residency requirement for applying for CCW licenses. Accordingly, the
2     Court grants the Motion only as to these challenges.
3     IV.   CONCLUSION
4           For the foregoing reasons, the Court GRANTS, in part, and DENIES, in part,
5     Plaintiffs’ Motion for a preliminary injunction. The Court further ORDERS:
6           (1)   Within twenty-one (21) calendar days of the date this Order is entered on the
7                 docket, Defendants must file their response to the Complaint pursuant to the
8                 Court’s December 26, 2023, Order on the parties’ stipulation to extend each
9                 Defendants’ time to answer the Complaint, see (ECF No. 17); and
10          (2)   Within thirty (30) calendar days of this Order being entered on the docket,
11                Plaintiffs must meet and confer with the State and the LA Defendants to
12                submit a proposed order entering the preliminary injunction consistent with
13                the specific findings made in this Order.
14          IT IS SO ORDERED.
15
16    DATED: August 20, 2024
17
                                                       HON. SHERILYN PEACE GARNETT
18                                                     UNITED STATES DISTRICT JUDGE
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